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 1
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 5
                           UNITED STATES DISTRICT COURT
 6
                               DISTRICT OF ARIZONA
 7
                                                     Case No:
 8
 9   FERNANDO GASTELUM,                                 VERIFIED COMPLAINT

10                                      Plaintiff,      1. Americans with Disabilities
                                                                      Act
11
                                                               2. Negligence
12                       vs.                                    3. Negligent
                                                               Misrepresentation
13   GTI PHOENIX, LLC,                                      4. Failure to Disclose
14                                                       5. Fraud / Consumer Fraud
                                     Defendant.
15                                                       JURY TRIAL REQUESTED
16
17                                    INTRODUCTION
18   1. Plaintiff brings this action pursuant to the Americans with Disabilities Act, 42
19
        U.S.C. §12101 et seq. and corresponding regulations, 28 CFR Part 36 and
20
21      Department of Justice Standards for Accessible Design (“ADA”).
22   2. Plaintiff’s left leg is amputated below the knee. Plaintiff moves with the aid of
23
        a wheelchair or a prosthetic leg. Plaintiff suffers from a disability as this term
24
25      is defined in 42 U.S.C. 12102 and 28 CFR §36.105 (c)(1)(i) which includes,
26      inter alia, “walking, standing, sitting, reaching, lifting [and] bending” and other
27
28
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 1      activities. A partial missing limb “substantially limit[s] musculoskeletal

 2      function” as a matter of law. 28 CFR § 36.105 (d)(2)(iii)(D).
 3
     3. Plaintiff is constantly and relentlessly segregated and discriminated against,
 4
 5      excluded, denied equal services, or otherwise treated differently than other

 6      individuals because of his disability, and has been denied the opportunity to
 7
        participate in or benefit from services, facilities and opportunities available
 8
 9      people without disabilities.

10   4. Plaintiff incorporates herein Congressional Findings and Purpose set forth in 42
11
        U.S.C. §12-101 and 28 CFR §36.101.
12
13   5. Plaintiff is being subjected to discrimination on the basis of disability in

14      violation of Subchapter III of the Americans with Disabilities Act or has
15
        reasonable ground to believe that that he is about to be subjected to
16
17      discrimination in violation of 42 U.S.C. §12183.
18   6. Plaintiff alleges that he has actual notice that Defendant has failed to comply
19
        with Subchapter III of the ADA, 28 CFR 36 and the 2010 Standards of
20
21      Accessibility Design (“2010 Standards”) as more fully alleged below.
22   7. Plaintiff alleges that he has no obligation to engage in futile gestures as
23
        referenced in 42 U.S.C. §12188(A)(1) and 28 C.F.R. Subpart E
24
25   8. Defendant has discriminated against Plaintiff by the following actions and
26      failures to act –
27
28

                                           2
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 1      a. Failing to make reasonable modifications in policies, practices, or

 2         procedures which are necessary to afford Plaintiff and others similarly
 3
           situated accessibility to Defendant’s place of public accommodation, thus
 4
 5         violating 42 U.S.C. §12182(b)(2)(A)(ii) and 28 C.F.R. §36.302(a); and

 6      b. Failing to take such steps as may be necessary to ensure that no individual
 7
           with a disability is excluded, denied services, segregated or otherwise treated
 8
 9         differently than other individuals because of the absence of auxiliary aids

10         and services, thus violating 42 U.S.C. §12182(b)(2)(A)(iii); and
11
        c. Failing to remove architectural barriers where such removal is readily
12
13         achievable, thus violating 42 U.S.C. §12182(b)(2)(A)(iii), 28 CFR 36 and

14         the 2010 Standards..
15
                                         PARTIES
16
17   9. Plaintiff is a disabled person and a committed individual to advance the time
18      when places of public accommodations will be compliant with the ADA.
19
        Plaintiff resides in Casa Grande, Arizona.
20
21   10. Plaintiff’s disability includes the amputation of the left leg below the knee.
22      Plaintiff moves with the use of a wheelchair, walker and/or a prostethis.
23
     11. Defendant, GTI PHOENIX, LLC, D/B/A Green Tree Inn & Suites
24
25      Phoenix, owns and/or operates hotel at 4234 S. 48th Street, Phoenix, AZ
26      85040 which is a public accommodation pursuant to 42 U.S.C. § 12181(7)(A)
27
28

                                            3
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 1      which offers public lodging services See 28 CFR §36.104 and a listing of public

 2      accommodations in 42 U.S.C. §12181(7).
 3
                                      JURISDICTION
 4
 5   12. District Court has jurisdiction over this case or controversy by virtue of 28

 6      U.S.C. §§ 28-1331 and 42 U.S.C. § 12188 and 28 U.S.C. § 1367.
 7
     13. Plaintiff brings this action as a private attorney general who has been personally
 8
 9      subjected to discrimination on the basis of his disability, see 42 U.S.C.12188

10      and 28 CFR §36.501.
11
     14. Venue is proper pursuant to 28 U.S.C. § 1391.
12
13                        STANDING TO SUE JURISDICTION

14   15. Plaintiff reviewed 3rd party and 1st party lodging websites to book an
15
        ambulatory and wheelchair accessible room. Plaintiff was denied equal
16
17      opportunity to use and enjoyment of a critical public accommodation through
18      Defendant’s acts of discrimination and segregation alleged below.
19
     16. Plaintiff intends to book a room at the Defendant’s hotel once Defendant has
20
21      removed all accessibility barriers, including the ones not specifically referenced
22      herein, and has fully complied with the ADA.
23
     17. Because of Defendant’s denial of Plaintiff’s use and enjoyment of a critical
24
25      public accommodation through Defendant’s acts of discrimination and
26      segregation, he is deterred from visiting that accommodation by accessibility
27
        barriers and other violations of the ADA.
28

                                            4
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 1   18. Defendant has denied Plaintiff -

 2         a. The opportunity to participate in or benefit from the goods, services,
 3
              facilities, privileges, advantages, or accommodations at its hotel.
 4
 5         b. The right to be included in the population at large who benefits from

 6            Defendant’s hotel without being segregated because his disability.
 7
     19. Plaintiff intends to book a room at Defendant’s hotel in the future but he will
 8
 9      likely suffer repeated injury unless and until the barriers of accessibility and

10      ambulatory and wheelchair accessibility barriers have been removed.
11
                            CONTINUING JURISDICTION
12
13   20. ADA violations which form the subject matter of this Verified Complaint

14      change frequently due to regular maintenance, remodels, repairs, and normal
15
        wear and tear.
16
17   21. Defendant’s ADA Violations are of the type that can reasonably be expected to
18      start up again, allowing Defendant to be free to return to the old ways' after the
19
        threat of a lawsuit had passed.
20
21   22. If one or more ADA violation are cured, Plaintiff alleges that they were cured
22      and timed to anticipate the current lawsuit, and not as a good faith effort to
23
        comply with the ADA.
24
25   23. To remedy the violations of 28 CFR 36.302(e), Defendant would be required
26      not only to modify all 1st and 3rd party lodging websites, but would be required
27
        to do so truthfully and accurately.
28

                                              5
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 1
 2                                         COUNT ONE
 3
                         Violation of Plaintiff’s Civil Rights under the ADA
 4
 5   24. Plaintiff realleges all allegations heretofore set forth.

 6   25. By virtue of his disability, Plaintiff requires an ADA compliant lodging facility
 7
        particularly applicable to his mobility, both ambulatory and wheelchair assisted.
 8
 9   26. On or about February 5, 2018 Plaintiff intended to visit Phoenix and spend the

10      night there. He visited a 3rd party website www.expedia.com to book a room.
11
     27. 3rd party website disclosed general availability and description of Defendant’s
12
13      hotel.

14   28. 3rd     party     website    states,   “Accessibility -     Wheelchair   accessible
15
        Non-Smoking Connecting/adjoining rooms can be requested, subject to
16
17      availability
18   29. 3rd party website also states, “Accessibility. If you have requests for specific
19
        accessibility needs, please note them at check-out when you book your room.
20
21               Accessible bathroom
                 Roll-in shower
22               In-room accessibility”
          rd
23   30. 3 party website failed to identify and describe mobility related accessibility
24      features and guest rooms offered through its reservations service in enough
25
        detail to reasonably permit Plaintiff to assess independently whether
26
27      Defendant’s hotel meets his accessibility needs.
28

                                                6
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 1   31. 3rd party website failed to disclose the following accessibility features in

 2      enough detail to reasonably permit Plaintiff to assess independently whether
 3
        Defendant’s hotel and guest rooms meets his accessibility needs:
 4
 5         a. Whether accessible routes comply with § 206 of the 2010 Standards; and

 6         b. Whether operable parts on accessible elements, accessible routes and
 7
              accessible rooms comply with §§205 and 803 of the 2010 Standards; and
 8
 9         c. Whether any accessible means of egress comply with §207 of the 2010

10            Standards.
11
           d. Whether parking spaces comply with §§208 and 502 of the 2010
12
13            Standards; and

14         e. Whether passenger loading zones comply with §§209 and 503 of the
15
              2010 Standards; and
16
17         f. Whether any drinking fountains comply with §211 of the 2010 Standards;
18            and
19
           g. Whether any kitchens, kitchenettes and sinks comply with §§212 and 804
20
21            of the 2010 Standards; and
22         h. Whether toilet facilities and bathing facilities comply with §213 of the
23
              2010 Standards; and
24
25         i. Whether any washing machines and clothes dryers comply with §§214
26            and 611 of the 2010 Standards; and
27
28

                                           7
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 1       j. Whether accessible hotel rooms comply with §224 of the 2010 Standards;

 2          and
 3
         k. Whether dining surfaces and work surfaces comply with §§226 and 902
 4
 5          of the 2010 Standards; and

 6       l. Whether sales and service elements comply with §227 of the 2010
 7
            Standards; and
 8
 9       m. Whether any saunas and steam rooms comply with §§241 and 612 of the

10          2010 Standards; and
11
         n. Whether any swimming pools, wading pools and spas comply with
12
13          §§242 and 1009 of the 2010 Standards; and

14       o. Whether floor and ground surfaces comply with §302 of the 2010
15
            Standards; and
16
17       p. Whether changes in level comply with §303 of the 2010 Standards; and
18       q. Whether turning spaces comply with § 304 of the 2010 Standards; and
19
         r. Whether floor and ground spaces comply with §305 of the 2010
20
21          Standards; and
22       s. Whether knee and toes clearances comply with §306 of the 2010
23
            Standards; and
24
25       t. Whether protruding objects comply with §307 of the 2010 Standards; and
26       u. Whether the reach ranges comply with §308 of the 2010 Standards; and
27
28

                                         8
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 1       v. Whether the operating parts on accessible features comply with §309 of

 2          the 2010 Standards; and
 3
         w. Whether accessible routes comply with §402 of the 2010 Standards; and
 4
 5       x. Whether walking surfaces comply with §403 of the 2010 Standards; and

 6       y. Whether doors, doorways and gates comply with §404 of the 2010
 7
            Standards; and
 8
 9       z. Whether ramps comply with § 405 of the 2010 Standards; and

10       aa. Whether curb ramps comply with §406 of the 2010 Standards; and
11
         bb. Whether any elevators comply with §407 of the 2010 Standards; and
12
13       cc. Whether any platform lifts comply with §410 of the 2010 Standards; and

14       dd. Whether any stairways comply with §504 of the 2010 Standards; and
15
         ee. Whether handrails on elements requiring handrails comply with §505 of
16
17          the 2010 Standards; and
18       ff. Whether the plumbing facilities comply with Chapter 6 of the 2010
19
            Standards with respect to all the following subchapters of Chapter 6: §§
20
21          602 (drinking fountains), 603 (toilets and bathing rooms), 604 (water
22          closets and toilet compartments, 605 (urinals), 606 (lavatories and sinks),
23
            607 (bathtubs), 607 (shower compartments), 608 (grab bars), 610 (seats
24
25          in bathtubs and shower compartments), and
26       gg. Whether service counters comply with 904 of the 2010 Standards.
27
28

                                         9
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 1   32. Thereafter,   Plaintiff   consulted     Defendant’s     1st    party    website

 2      www.greentreeinnphoenix.com to determine the information unavailable from
 3
        the third-party website.
 4
 5   33. 1st party website failed to identify and describe mobility related accessibility

 6      features and guest rooms offered through its reservations service in enough
 7
        detail to reasonably permit Plaintiff to assess independently whether
 8
 9      Defendant’s hotel meets his accessibility needs.

10   1st party website did state- “ADA/Accessible Guest Room Features
11
        •   Wheelchair Accessible
12      •   Service Animals Allowed
13
     ADA/Accessible Bathroom Features
14
        •   Grab Bars at Tub with a Tub Seat”
15
16   34. In particular, 1st party website failed to disclose the following accessibility

17      features in enough detail to reasonably permit Plaintiff to assess independently
18
        whether Defendant’s hotel and guest rooms meets his accessibility needs:
19
20          a. Whether accessible routes comply with § 206 of the 2010 Standards; and
21          b. Whether operable parts on accessible elements, accessible routes and
22
               accessible rooms comply with §§205 and 803 of the 2010 Standards; and
23
24          c. Whether any accessible means of egress comply with §207 of the 2010
25             Standards.
26
            d. Whether parking spaces comply with §§208 and 502 of the 2010
27
28             Standards; and

                                           10
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 1       e. Whether passenger loading zones comply with §§209 and 503 of the

 2          2010 Standards; and
 3
         f. Whether any drinking fountains comply with §211 of the 2010 Standards;
 4
 5          and

 6       g. Whether any kitchens, kitchenettes and sinks comply with §§212 and 804
 7
            of the 2010 Standards; and
 8
 9       h. Whether toilet facilities and bathing facilities comply with §213 of the

10          2010 Standards; and
11
         i. Whether any washing machines and clothes dryers comply with §§214
12
13          and 611 of the 2010 Standards; and

14       j. Whether accessible hotel rooms comply with §224 of the 2010 Standards;
15
            and
16
17       k. Whether dining surfaces and work surfaces comply with §§226 and 902
18          of the 2010 Standards; and
19
         l. Whether sales and service elements comply with §227 of the 2010
20
21          Standards; and
22       m. Whether any saunas and steam rooms comply with §§241 and 612 of the
23
            2010 Standards; and
24
25       n. Whether any swimming pools, wading pools and spas comply with
26          §§242 and 1009 of the 2010 Standards; and
27
28

                                         11
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 1       o. Whether floor and ground surfaces comply with §302 of the 2010

 2          Standards; and
 3
         p. Whether changes in level comply with §303 of the 2010 Standards; and
 4
 5       q. Whether turning spaces comply with § 304 of the 2010 Standards; and

 6       r. Whether floor and ground spaces comply with §305 of the 2010
 7
            Standards; and
 8
 9       s. Whether knee and toes clearances comply with §306 of the 2010

10          Standards; and
11
         t. Whether protruding objects comply with §307 of the 2010 Standards; and
12
13       u. Whether the reach ranges comply with §308 of the 2010 Standards; and

14       v. Whether the operating parts on accessible features comply with §309 of
15
            the 2010 Standards; and
16
17       w. Whether accessible routes comply with §402 of the 2010 Standards; and
18       x. Whether walking surfaces comply with §403 of the 2010 Standards; and
19
         y. Whether doors, doorways and gates comply with §404 of the 2010
20
21          Standards; and
22       z. Whether ramps comply with § 405 of the 2010 Standards; and
23
         aa. Whether curb ramps comply with §406 of the 2010 Standards; and
24
25       bb. Whether any elevators comply with §407 of the 2010 Standards; and
26       cc. Whether any platform lifts comply with §410 of the 2010 Standards; and
27
         dd. Whether any stairways comply with §504 of the 2010 Standards; and
28

                                       12
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 1         ee. Whether handrails on elements requiring handrails comply with §505 of

 2            the 2010 Standards; and
 3
           ff. Whether the plumbing facilities comply with Chapter 6 of the 2010
 4
 5            Standards with respect to all the following subchapters of Chapter 6: §§

 6            602 (drinking fountains), 603 (toilets and bathing rooms), 604 (water
 7
              closets and toilet compartments, 605 (urinals), 606 (lavatories and sinks),
 8
 9            607 (bathtubs), 607 (shower compartments), 608 (grab bars), 610 (seats

10            in bathtubs and shower compartments), and
11
           gg. Whether service counters comply with 904 of the 2010 Standards.
12
13   35. Thereafter Plaintiff called Defendant’s hotel to inquire whether it was

14      compliant with the ADA and suitable for Plaintiff’s accessibility needs.
15
     36. Plaintiff spoke with hotel reservations clerk, Kassandra. Plaintiff specifically
16
17      inquired whether Defendant’s hotel was compliant with the Americans with
18      Disabilities Act and compliant with the specific requirements of accessibility.
19
     37. Reservations clerk responded that the hotel was compliant with the Americans
20
21      with Disabilities Act.
22   38. Plaintiff subsequently visited the hotel to independently verify that it was, at
23
        least on the outside, suitable to accommodate his disability.
24
25   39. Plaintiff noted that the hotel was not compliant with the ADA and was replete
26      with accessibility barriers in the details which include, without limitation, the
27
        following areas of non-compliance:
28

                                           13
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 1    a. 208.3.1. The accessible parking spaces are not dispersed to all entrances.

 2    b. 502.3. Multiple access aisles do not adjoin an accessible route.
 3
      c. 502.4. Multiple accessible parking spaces have a running slope steeper
 4
 5       than 1:48 inches.

 6    d. 502.4. At least one accessible parking space has a cross slope steeper
 7
         than 1:48 inches.
 8
 9    e. 502.4. At least one access aisle has a running slope steeper than 1:48 inches.

10    f. 303.2. Change in level higher than 1/4 inch along an accessible route.
11
      g. 307.5. Protruding object along an accessible route which reduces the
12
13       required clear width of said route.

14    h. 308.2.1. The pool gate latch is located at an improper reach range over 48
15
         inches high.
16
17    i. 309.4. The pool gate requires two hands and a twisting of the wrist motion
18       to open.
19
      j. 403.3. At least one accessible route has a walking surface with a cross slope
20
21       steeper than 1:48 inches.
22    k. 405.2. The ramp near the western entrance has a running slope steeper
23
         than 1:12 inches.
24
25    l. 503.3. The passenger loading zones is not marked with an access aisle; and
26    m. Other ADA violations to be discovered through a discovery process.
27
28

                                         14
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 1   40. As a result of the deficiencies described above, Plaintiff declined to book a room

 2      at the hotel.
 3
     41. The removal of accessibility barriers listed above is readily achievable.
 4
 5   42. As a direct and proximate result of ADA Violations, Defendant’s failure to

 6      remove accessibility barriers prevented Plaintiff from equal access to the
 7
        Defendant’s public accommodation.
 8
 9   WHEREFORE, Plaintiff prays for all relief as follows:

10          A. Relief described in 42 U.S.C. §2000a – 3; and
11
            B. Relief described in 42 U.S.C. § 12188(a) and (b) and, particularly -
12
13          C. Injunctive relief order to alter Defendant’s place of public

14             accommodation to make it readily accessible to and usable by ALL
15
               individuals with disabilities; and
16
17          D. Requiring the provision of an auxiliary aid or service, modification of a
18             policy, or provision of alternative methods, to the extent required by
19
               Subchapter III of the ADA; and
20
21          E. Equitable nominal damages in the amount of $1.00; and
22          F. For costs, expenses and attorney’s fees; and
23
            G. All remedies provided for in 28 C.F.R. 36.501(a) and (b).
24
25
26                                       COUNT TWO
                                          Negligence
27
28   43. Plaintiff realleges all allegations heretofore set forth.

                                             15
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 1   44. Defendant had a duty to Plaintiff to remove ADA accessibility barriers so that

 2        Plaintiff as a disabled individual would have full and equal access to the public
 3
          accommodation.
 4
 5   45. Defendant breached this duty.

 6   46. Defendant is or should be aware that, historically, society has tended to isolate
 7
          and segregate individuals with disabilities, and, despite some improvements,
 8
 9        such forms of discrimination against individuals with disabilities continue to be

10        a serious and pervasive social problem1.
11
     47. Defendant knowingly and intentionally participated in this historical
12
13        discrimination against Plaintiff, causing Plaintiff damage.

14   48. Discrimination against individuals with disabilities persists in the use and
15
          enjoyment of critical public accommodations 2.
16
17   49. Defendant’s knowing and intentional persistence in discrimination against
18        Plaintiff is alleged, causing Plaintiff damage.
19
     50. Individuals with disabilities, including Plaintiff, continually encounter various
20
21        forms of discrimination, including outright intentional exclusion, the
22        discriminatory effects of architectural, overprotective rules and policies, failure
23
          to make modifications to existing facilities and practices, exclusionary
24
25
26
     1
27       42 U.S.C. § 12101(a)(2)
     2
28       42 U.S.C. §12101(a)(3)

                                              16
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 1        qualification standards and criteria, segregation, and relegation to lesser

 2        services, programs, activities, benefits, jobs, or other opportunities3.
 3
     51. Defendant’s knowing and intentional discrimination against Plaintiff reinforces
 4
 5        above forms of discrimination, causing Plaintiff damage.

 6   52. Census data, national polls, and other studies have documented that people
 7
          with disabilities, as a group, occupy an inferior status in our society, and are
 8
 9        severely disadvantaged socially, vocationally, economically, and

10        educationally4.
11
     53. Defendant’s knowing and intentional discrimination has relegated Plaintiff to
12
13        an inferior status in society, causing Plaintiff damage.

14   54. The Nation’s proper goals regarding individuals with disabilities are to assure
15
          equality of opportunity, full participation, independent living, and economic
16
17        self-sufficiency for such individuals 5.
18   55. Defendant’s knowing and intentional discrimination has worked counter to our
19
          Nation’s goals of equality, causing Plaintiff damage.
20
21   56. Continued existence of unfair and unnecessary discrimination and prejudice
22        denies people with disabilities the opportunity to compete on an equal basis and
23
          to pursue those opportunities for which our free society is justifiably famous,
24
25
     3
26       42 U.S.C. §12101(a)(5)
     4
27       42 U.S.C. §12101(a)(6)
     5
28       42 U.S.C. §12101(a)(7)

                                              17
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 1        and costs the United States billions of dollars in unnecessary expenses resulting

 2        from dependency and nonproductivity6.
 3
     57. Defendant’s knowing and intentional unfair and unnecessary discrimination
 4
 5        against Plaintiff demonstrates Defendant’s knowing and intentional damage to

 6        Plaintiff.
 7
     58. Defendant’s breach of duty caused Plaintiff damages including, without
 8
 9        limitation, the feeling of segregation, discrimination, relegation to second class

10        citizen status the pain, suffering and emotional damages inherent to
11
          discrimination and segregation and other damages to be proven at trial.
12
13   59. By violating Plaintiff’s civil rights, Defendant engaged in intentional,

14        aggravated and outrageous conduct.
15
     60. The ADA has been the law of the land since 1991, but Defendant engaged in a
16
17        conscious action of a reprehensible character, that is, Defendant denied Plaintiff
18        his civil rights, and cause him damage by virtue of segregation, discrimination,
19
          relegation to second class citizen status the pain, suffering and emotional
20
21        damages inherent to discrimination and segregation and other damages to be
22        proven at trial
23
24
25
26
27
     6
28       42 U.S.C. §12101(a)(8)

                                             18
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 1   61. Defendant either intended to cause injury to Plaintiff or defendant consciously

 2      pursued a course of conduct knowing that it created a substantial risk of
 3
        significant harm to Plaintiff.
 4
 5   62. Defendant is liable to Plaintiff for punitive damages in an amount to be proven

 6      at trial sufficient, however, to deter this Defendant and others similarly situated
 7
        from pursuing similar acts.
 8
 9   WHEREFORE, Plaintiff prays for relief as follows:

10          A. For finding of negligence; and
11
            B. For damages in an amount to be proven at trial; and
12
13          C. For punitive damages to be proven at trial; and

14          D. For such other and further relief as the Court may deem just and proper.
15
16
                                      COUNT THREE
17                                Negligent Misrepresentation
18
     63. Plaintiff realleges all allegations heretofore set forth.
19
20   64. Defendant failed to exercise reasonable care or competence in obtaining or
21      communicating the information regarding ADA compliance to Plaintiff both on
22
        the websites and telephonically.
23
24   65. Defendant hotel supplied false information to Plaintiff for guidance in
25      Plaintiff’s business transaction, to wit: the renting of a hotel room.
26
     66. Defendant’s false statement was made in the course of Defendant’s business in
27
28      which Defendant has a pecuniary interest, to wit: renting of rooms.

                                             19
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 1   67. Plaintiff justifiably relied on Defendant’s false information.

 2   68. Plaintiff has suffered pecuniary losses as a result of his reliance on Defendant’s
 3
        false information regarding ADA compliance, to wit: he spent time, effort and
 4
 5      resources.

 6   69. Defendant either intended to cause injury to Plaintiff or defendant consciously
 7
        pursued a course of conduct knowing that it created a substantial risk of
 8
 9      significant harm to Plaintiff.

10   70. Defendant is liable to Plaintiff for punitive damages in an amount to be proven
11
        at trial sufficient, however, to deter this Defendant and others similarly situated
12
13      from pursuing similar acts.

14   WHEREFORE, Plaintiff prays for relief as follows:
15
            A. For finding of negligent misrepresentation; and
16
17          B. For damages in an amount to be proven at trial; and
18          C. For punitive damages to be proven at trial; and
19
            D. For such other and further relief as the Court may deem just and proper.
20
21
22                                      COUNT FOUR
                                       Failure to Disclose
23
24   71. Plaintiff realleges all allegations heretofore set forth.
25   72. Defendant was under a duty to Plaintiff to exercise reasonable care to disclose
26
        matters required to be disclosed pursuant to 28 CFR 36.302(e) as more fully
27
28      alleged above.

                                             20
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 1   73. Defendant was under a duty to disclose matters to Plaintiff that Defendant knew

 2      were necessary to be disclosed to prevent Plaintiff to be misled by partial
 3
        disclosures of ADA compliance as more fully alleged above.
 4
 5   74. The compliance with the ADA is a fact basic to the transaction.

 6   75. Defendant failed to make the necessary disclosures.
 7
     76. As a direct consequence of Defendant’s failure to disclose, Plaintiff visited the
 8
 9      hotel, but did not book a room because of its non-compliance with the ADA.

10   77. Plaintiff has been damaged by Defendant’s non-disclosure.
11
     78. Defendant either intended to cause injury to Plaintiff or defendant consciously
12
13      pursued a course of conduct knowing that it created a substantial risk of

14      significant harm to Plaintiff.
15
     79. Defendant is liable to Plaintiff for punitive damages in an amount to be proven
16
17      at trial sufficient, however, to deter this Defendant and others similarly situated
18      from pursuing similar acts.
19
     WHEREFORE, Plaintiff prays for relief as follows:
20
21         A. For finding of that Defendant failed to disclose information; and
22         B. For damages in an amount to be proven at trial; and
23
           C. For punitive damages to be proven at trial; and
24
25         D. For such other and further relief as the Court may deem just and proper.
26
27                                       COUNT FIVE
28                                          Fraud

                                            21
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 1                               Common Law and Consumer

 2   80. Plaintiff realleges all allegations heretofore set forth.
 3
     81. Defendant made a representation as alleged above.
 4
 5   82. The representation was material.

 6   83. The representation was false.
 7
     84. Defendant knew that the representation was false or was ignorant to the truth or
 8
 9      falsity thereof.

10   85. Defendant intended that Plaintiff rely on the false representation.
11
     86. Plaintiff reasonably relied on the misrepresentation.
12
13   87. Plaintiff has a right to rely on the misrepresentation.

14   88. Plaintiff was consequently and proximately damaged by Defendant’s
15
        misrepresentation.
16
17   89. Defendant’s misrepresentation was made in connection with the sale or
18      advertisement of merchandise with the intent that Plaintiff rely on it.
19
     90. Renting of hotel rooms is “merchandise” as this term is defined in A.R.S. §44-
20
21      1521(5).
22   91. Plaintiff relied on the misrepresentation.
23
     92. Plaintiff suffered an injury resulting from the false misrepresentation
24
25   93. Defendant either intended to cause injury to Plaintiff or defendant consciously
26      pursued a course of conduct knowing that it created a substantial risk of
27
        significant harm to Plaintiff.
28

                                             22
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 1   94. Defendant is liable to Plaintiff for punitive damages in an amount to be proven

 2      at trial sufficient, however, to deter this Defendant and others similarly situated
 3
        from pursuing similar acts.
 4
 5   WHEREFORE, Plaintiff prays for relief as follows:

 6          A. For finding of that Defendant failed to disclose information; and
 7
            B. For damages in an amount to be proven at trial; and
 8
 9          C. For punitive damages to be proven at trial; and

10          D. For such other and further relief as the Court may deem just and proper.
11
                               REQUEST FOR TRIAL BY JURY
12
            Plaintiff respectfully requests a trial by jury in issues triable by a jury.
13
14          RESPECTFULLY SUBMITTED this 7th day of February 2018.
15                                        STROJNIK, P.C.
16
17
18                                        Peter Strojnik, 6464
                                          Attorneys for Plaintiff
19
20                                        VERIFICATION

21   Plaintiff verifies that he has read the forgoing and that the factual allegations stated above
     are true and correct to the best of his knowledge, information and belief. Plaintiff makes
22
     this verification under the penalty of perjury.
23
24                                        /s/ Fernando Gastelum
25                                        Authorized Electronically

26
27
28

                                                23
